Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 1 of 21




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   Case No. 0:17-cv-60426-UU


       ALEKSEJ GUBAREV,
       XBT HOLDING S.A., and
       WEBZILLA, INC.
         Plaintiffs,                                                  Exhibit A

       v.

       BUZZFEED, INC. and
       BEN SMITH
         Defendants.


                      PLAINTIFFS’ SUPPLEMENTED TRIAL EXHIBIT LIST

       Presiding Judge             Plaintiffs’ Attorneys            Defendants’ Attorneys
       Judge Ursula Ungaro         Evan Fray-Witzer                 Katherine M. Bolger
                                   Valentin Gurvits                 Adam Lazier
                                   Matthew Shayefar                 Nathan Siegel
                                   Brady J. Cobb                    Alison Schary
                                   Dylan Fulop                      Roy E. Black
                                                                    Jared M. Lopez
       Trial Date(s)
       January 22, 2019 -
       February 4, 2019

                                   Plaintiffs’ Expected Exhibits1

       Plf.   Def. Date        Objections2   Marked Admitted Description of Exhibits
       No.    No. Offered
       A1                                                           A1 – Article as of February 3,
                                                                    2017 – P-D000016-P-
                                                                    D000020


   1
    Plaintiffs’ “If Needed” Exhibits follow starting infra on page 8.
   2
    Abbreviations used herein are defined as follows, pursuant to Local Rule 16.1(e)(9): A –
   Authenticity (including best evidence rule); C – Completeness; H – Hearsay; I – inadmissible
   matter (including Daubert challenge); L – foreign language; P – Privileged; R – Relevance; UP –
   Unfairly Prejudicial. Where the objection “L” is noted, Defendants reserve the right to raise
   additional objections if and when a certified translation of the document is disclosed.


                                                  1
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 2 of 21




    Plf.   Def. Date      Objections2   Marked Admitted Description of Exhibits
    No.    No. Offered
    A2                                                    A2 – Dossier Without
                                                          Plaintiffs Redacted – P-
                                                          D000021-P-D000055
    A3                                                    A3 – December Memo
    A4                                                    A4 – Buzzfeed Article as
                                                          Originally Published
    A5                                                    A5 – CNN – Intel Chiefs
                                                          Presented Trump with Claims
                                                          of Russian Efforts
    A10                                                   A10 – Ben Smith Email 1-18-
                                                          17 – BuzzFeed_007001-7015
    A11                   R                               A11 – Buzzfeed_010240
    A12                   R                               A12 – Buzzfeed_010333
    A13                   R                               A13 – Buzzfeed_010334
    A14                   R                               A14 – Buzzfeed_010335
    A15                   H                               A15 – Mic – Michael Cohen
                                                          Trumps lawyer emphatically
                                                          denies claims in salacious
                                                          circulated report
    A16                   R                               A16 – Buzzfeed_010336
    A17                   A, R, C                         A17 – Graphs of Buzzfeed
                                                          Traffic and Users
    A20                   A, H, R,                        A20 – Entry Page Report by
                          UP                              CNN w Cover Letter
    A30                   R, UP                           A30 – Buzzfeed Standards
                                                          and Ethics Guide – P-
                                                          I000033-P-I000044
    A31                                                   A31 – Smith Email to
                                                          Buzzfeed – BF4051
    A32                   I, H, R, UP                     A32 – Society of Professional
                                                          Journalists – Code of Ethics
    B1                    A, H, R                         B1 – Resignation of Director
                                                          - P-B000049-P-B000049




                                           2
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 3 of 21




    Plf.   Def. Date      Objections2   Marked Admitted Description of Exhibits
    No.    No. Offered
    B2                    A, H, R                         B2 – Executive Management
                                                          Agreement - P-B000050-P-
                                                          B000053
    B3                    A, H, R                         B3 – Minutes of Shareholder
                                                          Meeting - P-B000067-P-
                                                          B000069
    B10                   H, UP                           B10 – XBT Corporate
                                                          Structure
    C1                    H, UP                           C1 – Emails between Ben
                                                          Smith and Jake Tapper –
                                                          BuzzFeed_007839
    C2                    H, UP                           C2 – Emails between Ben
                                                          Smith and Jake Tapper –
                                                          BuzzFeed_007836-007838
    C3                    A, I, H                         C3 – Smith CNN Interview
                                                          Transcript
    C4                                                    C4 – Smith MSNBC
                                                          Interview Transcript
    C5                                                    C5 – Smith MSNBC
                                                          Interview Video
    C6                    C, H, I, R,                     C6 - S I N K H O L E - Shitty
                          UP                              Men in Media
    C7                                                    C7 – Smith CNN Interview
                                                          Video
    D1                                                    D1 – Pre-suit letter to Ben
                                                          Smith – Complaint Exhibit 1
    D3                    H, I, R, L                      D3 – Facebook Screenshot -
                                                          P-H000052-P-H000052
    D4                    H, L                            D4 – Composite of
                                                          Communications - P-
                                                          I000237-P-I000260
    E1                    H, UP, I                        E1 – Consor Supplemental
                                                          Expert Report
    E2                    H                               E2 – Jeff Anderson CV
    E10                   H, UP, I                        E10 – Cole CV



                                           3
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 4 of 21




    Plf.   Def. Date      Objections2   Marked Admitted Description of Exhibits
    No.    No. Offered
    E11                   H, UP, I                        E11 – Expert Report of Eric
                                                          Cole
    F1                    H, R                            F1 - P-A000019-P-A000019
    F2                    H, R                            F2 - P-A000059-P-A000059
    F3                    H                               F3 - P-A000060-P-A000060
    F4                    H, R                            F4 - P-A000085-P-A000085
    F5                    H, C                            F5 - P-A000117-P-A000126
    F6                    H, R, UP                        F6 - P-A000127-P-A000131
    F7                    H, UP                           F7 - P-A000132-P-A000134
    F8                    H, UP                           F8 - P-A000135-P-A000145
    F9                    H, UP                           F9 - P-A000146-P-A000150
    F10                   H, UP                           F10 - P-A000151-P-A000154
    F11                   H, R, UP, C                     F11 - P-A000155-P-A000155
    F12                   H, UP                           F12 - P-A000156-P-A000168
    F13                   H, UP                           F13 - P-A000169-P-A000171
    F14                   H, UP                           F14 - P-A000279-P-A000291
    F15                   R                               F15 - P-A000292-a1
    F16                   H, R, UP, C                     F16 - P-A000292-P-A000293
    F17                   H, UP                           F17 - P-A000616-P-A000624
    F18                   H, R                            F18 - P-A000734-P-A000736
    F19                   H, R                            F19 - P-A000737-P-A000739
    F20                   H, R, UP                        F20 - P-C000001-P-C000001
    F21                   H, R, UP                        F21 - P-C000002-P-C000002
    G1                    R                               G1 - P-C000003-P-C000003
    G2                    R                               G2 - P-C000004-P-C000004
    G3                    R                               G3 - P-C000005-P-C000005
    G4                    R, UP                           G4 - P-C000006-P-C000006
    G5                    R, UP                           G5 - P-C000007-P-C000007




                                           4
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 5 of 21




    Plf.   Def. Date      Objections2   Marked Admitted Description of Exhibits
    No.    No. Offered
    G6                    R, UP                           G6 - P-C000008-P-C000008
    G7                    R, UP                           G7 - P-C000009-P-C000009
    G8                    H, R, A,                        G8 - P-C000016-P-C000017
                          UP
    G9                    H, R, A,                        G9 - P-C000018-P-C000019
                          UP, C
    G10                   H, R, A,                        G10 - P-C000020-P-C000021
                          UP
    G11                   H, R, A,                        G11 - P-C000022-P-C000022
                          UP, C
    G12                   H, R, A,                        G12 - P-C000024-P-C000028
                          UP
    G13                   H, R, A,                        G13 - P-C000029-P-C000036
                          UP
    G14                   H, R, A,                        G14 - P-C000038-P-C000039
                          UP
    G15                   H, R, A,                        G15 - P-C000040-P-C000040
                          UP
    G16                   H, R, A,                        G16 - P-C000041-P-C000043
                          UP
    G17                   R                               G17 - P-C000076-P-C000076
    G18                   H, R, A,                        G18 - P-C000078
                          UP
    G19                                                   G19 - P-C000079
    G20                                                   G20 - P-C000080 (corrected)
    G21                   H, R, UP                        G21 – Written Confirmation -
                                                          P-N000029-P-N000029
    G22                   H, R, L                         G22 – Renovation Agreement
                                                          - P-N000030-P-N000031
    G23                   R                               G23 – Loan Agreement - P-
                                                          N000048-P-N000049
    J1                                                    J1 – Kramer Exhibit 2 –
                                                          Dossier



                                           5
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 6 of 21




    Plf.   Def. Date      Objections2   Marked Admitted Description of Exhibits
    No.    No. Offered
    J2                                                    J2 – Kramer Exhibit 3 –
                                                          Dossier
    J3                                                    J3 – Kramer Exhibit 4 –
                                                          Dossier
    J4                    H, R                            J4 – Kramer Exhibit 5 – TPM
                                                          Livewire Article
    J5                    H, R                            J5 – Kramer Exhibit 6 –
                                                          Politico Article
    J6                                                    J6 – Smith Exhibit 7 – Matt
                                                          Mittenthal Email –
                                                          BuzzFeed_006688
    J7                    H, R                            J7 – Smith Exhibit 15 –
                                                          BuzzFeed – What to do with
                                                          shitty media men
    J8                    H, R                            J8 – Smith Exhibit 16 –
                                                          BuzzFeed – Moira Donegan
                                                          Says She is the Woman Who
                                                          Created the Shitty media Men
                                                          List
    J9                    H, R, I                         J9 – Fusion Exhibit 6 –
                                                          Simpson Senate Interview
                                                          Transcript
    J10                                                   J10 – Fusion Exhibit 8 –
                                                          Dossier
    J11                   H, R                            J11 – Fusion Exhibit 9 –
                                                          Kramer Deposition Transcript
    J12                                                   J12A – Fusion Exhibit 11 –
                                                          Company Intelligence Report
                                                          2016-166
    J12B                  H, R, I                         J12B – Fusion Exhibit 12 –
                                                          Defense in Gubarev v Orbis
                                                          Business Intelligence Limited
    J13                   H, R, I                         J13 – Steele Exhibit 1 – Order
    J14                   H                               J14 – Steele Exhibit 3 –
                                                          Christopher Steele the Man
                                                          Behind the Trump Dossier



                                           6
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 7 of 21




    Plf.   Def. Date      Objections2   Marked Admitted Description of Exhibits
    No.    No. Offered
    J15                                                   J15 – Steele Exhibit 4 –
                                                          Dossier
    J16                   H, R, I, UP                     J16 – Steele Exhibit 5 –
                                                          Witness Statement of Nicola
                                                          Cain
    J17                   H, R, I, UP                     J17 – Steele Exhibit 6 –
                                                          Approved Judgment
    J18                   H, R, I                         J18 – Steele Exhibit 7 –
                                                          Glenn Simpson House
                                                          Interview Transcript
    J19                   H, R, I, UP                     J19 – Steele Exhibit 8 –
                                                          Skeleton Argument on Behalf
                                                          of Steele
    J20                   H, R                            J20 – Steele Exhibit 9 –
                                                          Kramer Deposition Transcript
    J21                   H, R, I, UP                     J21 – Steele Reply in
                                                          Gubarev v Orbis – P-
                                                          J000488-P-J000507
    M1                    H                               M1 - Declaration of Leonid
                                                          Bershidsky
    M2                    H                               M2 - Bloomberg – Clinton
                                                          Plugs Another Weak Story
                                                          About Trump’s Ties to Putin -
                                                          P-F000009-P-F000012
    M3                                                    M3 – Translation of Emails
                                                          between Gubarev and
                                                          Bershidsky
    N1                    H, R, I                         N1 – Indictment in United
                                                          States v Netyksho et al, Case
                                                          No. 1:18-cr-00215
    N2                                                    N2 – Internal Investigation
                                                          Report on BuzzFeed
                                                          publication - P-R000001-P-
                                                          R000002




                                           7
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 8 of 21




                               Plaintiffs’ If Needed Exhibits

    Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
    No.    No. Offered
    A50                                                   A50 – Company Intelligence Report
                                                          2016-134
    A51                 H, R                              A51 - Sheppard Mullin Letter re
                                                          Mother Jones
    A52                 I, H, R,                          A52 - The Hill Did FBI get
                        UP                                Bamboozled
    A53                                                   A53 – Dossier After Redaction - P-
                                                          D000060-P-D000094
    A54                 H, R, UP                          A54 - Google Trends - buzzfeed -
                                                          florida - P-E000283-P-E000283
    A55                 H, R, UP                          A55 - Google Trends buzzfeed and
                                                          dossier - florida - P-E000284-P-
                                                          E000285
    A56                 H, R, UP                          A56 - Alexa on Buzzfeed - P-
                                                          E000492-P-E000497
    B20                 T                                 B20 – Standard Processing Abuse by
                                                          Type - P-R000005-P-R000025
    B50                                                   B50 - Root SA Terms of Service -
                                                          MARC GOEDERICH, Cyprus, May
                                                          18, 2018, Exhibit 6
    B51                                                   B51 - Dedicated Servers Server
                                                          Services Specific Terms - MARC
                                                          GOEDERICH, Cyprus, May 18,
                                                          2018, Exhibit 7
    B52                                                   B52 - Root Virtual Private Server
                                                          Services Specific Terms - MARC
                                                          GOEDERICH, Cyprus, May 18,
                                                          2018, Exhibit 8
    B53                                                   B53 - Root Contact Abuse - MARC
                                                          GOEDERICH, Cyprus, May 18,
                                                          2018, Exhibit 9
    B54                                                   B54 – Composite of Webzilla Inc
                                                          Filings with Florida




                                             8
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 9 of 21




    Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
    No.    No. Offered
    B55                 C, H, R,                     B55 - P-B000028-P-B000029
                        UP
    B56                 T                            B56 - P-B000045-P-B000048
    B57                                              B57 - XBT Draft Financial Statement
                                                     2017 - P-G004614-P-G004643
    B58                                              B58 - Webzilla 2017 Financial
                                                     Statement - P-G004665-P-G004689
    B59                 H                            B59 - Webzilla Legal Information - P-
                                                     I000002-P-I000032
    B60                 H                            B60 - Trademarks - P-I000045-P-
                                                     I000045
    B61                 H, R                         B61 - webzillacom WhoIs - P-
                                                     I000046-P-I000050
    B62                 H, R                         B62 - Barracuda Invoice - P-I000059-
                                                     P-I000059
    B63                 H, R                         B63 - Barracuda Invoice - P-I000060-
                                                     P-I000060
    B64                 H, R                         B64 - Barracuda Certificate of
                                                     Subscription - P-I000061-P-I000061
    B65                 H, R                         B65 - Barracuda Certificate of
                                                     Subscription - P-I000062-P-I000062
    B66                 H, R                         B66 – Composite of SpamHaus
                                                     Reports – P-I000124-P-I000137
    B67                 H, R                         B67 - TechAccess Invoice - P-
                                                     I000138-P-I000139
    B68                 H                            B68 - Servers Policies - P-I000155-P-
                                                     I000168
    B69                 H                            B69 - Webzilla Policies - P-I000169-
                                                     P-I000179
    B70                 T                            B70 - Allocating IP addresses for
                                                     servers - P-I000268-P-I000270
    B71                 T                            B71 - Methods of working with active
                                                     TOR nodes - P-I000271-P-I000272




                                          9
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 10 of 21




     Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
     No.    No. Offered
     B72                 H, R                         B72 - Master Lease Agreement Sched
                                                      No 001-6507132-546 - P-M000017-
                                                      P-M000025
     C50                                              C50 – Smith Exhibit 5 – Why
                                                      Buzzfeed News Published the Dossier
     C51                                              C51 – Smith Exhibit 3 – Buzzfeed’s
                                                      Ben Smith on What’s Wrong and
                                                      Right With the Media
     C52                 I, H, R,                     C52 - BuzzFeed drops a Trump
                         UP                           bombshell, irresponsibly _ Poynter 1-
                                                      11-17
     C53                 I, H, R,                     C53 - Business Insider CNN distances
                         UP                           itself from BuzzFeed
     C54                 I, H, R,                     C54 - BuzzFeed publishes
                         UP                           unsubstantiated Trump report, raising
                                                      ethics questions _ Media _ The
                                                      Guardian 1-11-17
     C55                 I, H, R,                     C55 - BuzzFeed vs. Trump - The
                         UP                           Verge
     C56                 I, H, R,                     C56 - BuzzFeed Posts Unverified
                         UP                           Claims on Trump, Igniting a Debate -
                                                      The New York Times 1-10-17
     C57                 I, H, R,                     C57 - BuzzFeed was wrong to publish
                         UP                           the Trump rumours. Here's why _
                                                      Jane Martinson _ Opinion _ The
                                                      Guardian 1-12-17
     C58                 I, H, R,                     C58 - BuzzFeed’s ridiculous rationale
                         UP                           for publishing the Trump-Russia
                                                      dossier - The Washington Post 1-10-
                                                      17
     C59                 I, H, R,                     C59 - BuzzFeed's Ben Smith is proud
                         UP                           of being a chaos agent. He shouldn't
                                                      be_Wash Examiner 1-10-18
     C60                 I, H, R,                     C60 - BuzzFeed's publication of
                         UP                           Trump memos draws controversy -
                                                      CNN 1-11-17




                                           10
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 11 of 21




     Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
     No.    No. Offered
     C61                 I, H, R,                     C61 - BuzzFeed's publication of
                         UP                           Trump report violated journalistic
                                                      ethics _ TheHill
     C62                                              C62 – Millar email to Smith –
                                                      unsolicited Trump thoughts –
                                                      BuzzFeed_004155
     C63                                              C63 – Dehesdin email to Smith –
                                                      when you have a minute –
                                                      BuzzFeed_4447-4450
     C64                 I, H, R,                     C64 - How BuzzFeed crossed the line
                         UP                           in publishing salacious ‘dossier’ on
                                                      Trump - The Washington Post
     C65                 I, H, R,                     C65 - Mark Horowitz Tweet
                         UP
     C66                 I, H, R,                     C66 - Mark Wolff Tweet
                         UP
     C67                 I, H, R,                     C67 – Smith Draft of NYT Editorial -
                         UP                           BF5188-5190
     C68                 I, H, R,                     C68 - The Problem with BuzzFeed's
                         UP                           'Let the Readers Decide' Standard
     C69                 I, H, R,                     C69 - The Truthiness Of Buzzfeed _
                         UP                           The Dish
     C70                 I, H, R,                     C70 - Was BuzzFeed wrong to
                         UP                           publish the Trump dossier_ This
                                                      media ethicist says yes. – Vox
     C71                 I, H, R,                     C71 - Why BuzzFeed Was Wrong to
                         UP                           Publish the Trump Dossier - Nieman
                                                      Reports
     C72                 I, H, R,                     C72 - Why Did BuzzFeed Publish the
                         UP                           Trump Dossier_ - The Atlantic 1-11-
                                                      17
     C73                 I, H, R,                     C73 - Why so many journalists are
                         UP                           mad at BuzzFeed - The Washington
                                                      Post 1-12-17




                                           11
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 12 of 21




     Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
     No.    No. Offered
     C74                 I, H, R,                     C74 - Buzzfeeds Trump report takes
                         UP                           fake news to a new level - P-
                                                      D000101-P-D000102
     C75                 I, H, R,                     C75 - Tapper Tweet - P-D000117-P-
                         UP                           D000117
     C76                 I, H, R,                     C76 - Tapper Irresponsible Journalism
                         UP                           Hurts Us All - P-D000125-P-
                                                      D000128
     C77                 I, H, R,                     C77 - Shame on Buzzfeed - P-
                         UP                           D000133-P-D000139
     C78                 I, H, R,                     C78 - NYT memo re Ali Watkins
                         UP
     D10                 I, H, R,                     D10 – Gizmodo – Finally Some
                         UP                           Actual Stats on Internet Porn
     D11                 I, H, R,                     D11 – BBS News – Web Porn Just
                         UP                           How Much Is There
     D12                 I, H, R,                     D12 - PornHub - 2017 Year in
                         UP                           Review
     D13                                              D13 – Source Closing
                                                      Communication
     D14                                              D14 – Letter from Harry Reid to
                                                      James Comey
     D15                 A, I, H, R,                  D15 – Screenshot of RIF Website
                         L
     D16                 H, R                         D16 - About CNN iReport
     D17                                              D17 – WhatsApp Between Garrison
                                                      and Bensinger – BF17-28
     D18                 R                            D18 – DNC v Russian Federation,
                                                      Case No 1-18-cv-03501, SDNY
     D19                 I, H, R                      D19 - KPMG Letter re Principal
                                                      Activities - P-I000001-P-I000001
     D20                 I, H, R                      D20 - Analysis of Domain Names - P-
                                                      I000276-P-I000278




                                           12
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 13 of 21




     Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
     No.    No. Offered
     D21                 I, H, R                      D21 - Graphs of Analysis of Domain
                                                      Names - P-I000279-P-I000282
     D22                 H, R, UP                     D22 – Fusion research into Gubarev –
                                                      FGPSSDFL11 and 14-18
     E20                 C                            E20 - Composite of Consor Docs 1-9
                                                      - Financial Reports for Webzilla and
                                                      XBT
     E21                                              E21 – Consor Doc 10 – Customer
                                                      Revenue
     E22                 H, R, A                      E22 – Composite of Consor Docs 11-
                                                      20 – Various Company Financials
     E23                 H, R, A, I                   E23 - Doc 21 - Managed hosting
                                                      market size worldwide 2010-2020 _
                                                      Statistic
     E24                 H, R, A, I,                  E24 – Composite of Consor Docs 22-
                         UP                           33
     E25                 H, R, UP                     E25 - Doc 34 - Filing Version of
                                                      Complaint With Exhibits
     E26                 H, R, A                      E26 - Doc 35 - Buzzfeed, Inc. _
                                                      Private Company Profile
     E27                 H, R, UP                     E27 - Doc 36 - How Does BuzzFeed
                                                      Make Money_ _ Business Tech _
                                                      Tech Times
     E28                 H, R, A                      E28 - Doc 37 - XBT Holding, Ltd
                                                      Cap IQ
     E29                 H, R, A                      E29 - Doc 38 - Webzilla Inc Cap IQ
     E30                 H, R, UP                     E30 – Composite of Consor Docs 39-
                                                      47 – Buzzfeed Articles
     E31                 H, R, A                      E31 – Composite of Consor Docs 48-
                                                      53 – Various Financials
     E32                                              E32 – Consor Doc 54 - P-G000645-P-
                                                      G000703
     E33                 H, R, A                      E33 - Doc 55 - International Business
                                                      Machines Corporation NYSE IBM
                                                      Financials (1)



                                           13
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 14 of 21




     Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
     No.    No. Offered
     E36                 H, R, I                      E34 - Doc 56 -
                                                      MarketShare_MSC_2017_PREMIUM
     E35                 H, R, A                      E35 - Doc 57 - Alibaba Group
                                                      Holding Limited NYSE BABA
                                                      Financials (1)
     E36                 H, R                         E36 - Doc 58 -Google Adwords
     E37                 H, R, A, I                   E37 - Doc 59 - SEMrush-PDF 2
     E38A                                             E38A - Doc 60 - P-C000079 –
                                                      CONFIDENTIAL
     E38B                H, R, A, I                   E38B - Doc 61 - Raymond James
                                                      Telecom 12.17
     E39                 H, R, A, I                   E39 - Doc 62 - Reports and Tools _
                                                      SEMrush Knowledge Base _
                                                      SEMrush
     E40                                              E40 - Doc 63 - P-G001035-P-
                                                      G001087
     E41                 H, R, A, I                   E41 - Doc 64 - Cost-per-click (CPC)_
                                                      Definition - AdWords Help
     E42                 H, R, A, I                   E42 - Doc 65 - SEMRush About us
     E43                 H, R, A, I                   E43 - Doc 66 - Keywords_ Definition
                                                      - AdWords Help
     E44                 H, R                         E44 - Doc 67 - P-A000734-P-
                                                      A000736
     E45                 H, R, A,                     E45 - Doc 68 - Buzzfeed, Inc
                         UP
     E46                 H, R, A,                     E46 - Doc 69 - Buzzfeed, Inc. _
                         UP                           Transaction Details _ Private
                                                      Placement
     E47                 H, R, A,                     E47 - Doc 70 -Buzzfeed, Inc. _
                         UP                           Transaction Details _ Private
                                                      Placement
     E48                 H, R, A,                     E48 - Doc 71 - Buzzfeed, Inc. _
                         UP                           Transaction Details _ Private
                                                      Placement




                                           14
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 15 of 21




        Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
        No.    No. Offered
        E49                        H, R, A,                                  E49 - Doc 72 - buzzfeed - Explore -
                                   UP, I                                     Google Trends
        E50                        H, I                                      E50 - Doc 73 - EBITDA_EV Multiple
        E51                        H, I                                      E51 - Doc 74 - EBITDA - Earnings
                                                                             Before Interest, Taxes, Depreciation
                                                                             and Amortization
        E52                        H, R, I                                   E52 - Doc 75 - Google Analytics
        E53                        R, UP                                     E53 - Doc 76 -
                                                                             Buzzfeed_010335_ATTORNEYS'
                                                                             EYES ONLY
        E54                                                                  E54 - Doc 77 - P-C000080 -
                                                                             CONFIDENTIAL (corrected)
        E55                        H, R                                      E55 - Doc 78 - IBM Buys Hosting
                                                                             Company SoftLayer - Business
                                                                             Insider
        E56                        H, R                                      E56 - Doc 79 - SoftLayer® Revenue
                                                                             and Operations Grow in First Half of
                                                                             2010 _ Business Wire
        E57                        H, I, C3                                  E57 - Doc 80 - Rajesh Mishra 050118
                                                                             Excerpt Confidential
        F50                        H, R, L, C                                F50 - P-A000001-P-A000001
        F51                        H, R, C                                   F51 - P-A000014-P-A000015
        F52                        H, R                                      F52 - P-A000020-P-A000020
        F53                        H, R                                      F53 - P-A000022-P-A000022
        F54                        H, R                                      F54 - P-A000078-P-A000078
        F55                        H, R                                      F55 - P-A000625-a01-P-A000625-
                                                                             a06
        F56                        R, C                                      F56 - P-A000625-a07-P-A000625-
                                                                             a48
        F57                        R, C                                      F57 - P-A000625-a49
        F58                        H, R                                      F58 - P-A000625-P-A000625


    3
     Defendants object to the inclusion of deposition testimony as an exhibit and state that proposed testimony from Mr.
    Mishra’s deposition should be properly addressed via deposition designations.


                                                            15
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 16 of 21




     Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
     No.    No. Offered
     F59                 H, R, C                      F59 - P-A000731-P-A000731
     F60                 H, R                         F60 - P-A000737-P-A000739
     F61                 H, R                         F61 - P-H000005-P-H000005
     F62                 H, R                         F62 - P-H000006-P-H000006
     G50                 H, R, A                      G50 - P-C000045-P-C000056
     G51                 H, R, A                      G51 - P-C000058-P-C000075
     G52                 H, R, A, I                   G52 - P-I000180-P-I000236
     H1                  H, R, A                      H1 - Gubarev Search on Forbes
     H2                  H, R, A                      H2 - Search Results _ Wall Street
                                                      Journal
     H3                                               H3 - Dvas Email to Cutler - P-
                                                      P000950
     H4                                               H4 - Gubarev email to Dolan -
                                                      KGlobal000586-590
     H5                                               H5 - Composite of KGlobal Emails to
                                                      Media
     H6                                               H6 - Dvas Email to Kglobal - P-
                                                      P001336 and attachment
     H7                  C                            H7 - Dvas Email to Cutler - P-
                                                      P00122-1228
     H8                  C                            H8 - Dvas Email to Cutler -P-
                                                      P001013
     H9                  R, C                         H9 - Report on Press Release - P-
                                                      F000185-P-F000202
     H10                                              H10 - Dvas Email - PR Plan - P-
                                                      P001227-P-P001228
     I1                  A, H, R                      I1 – Real Clear Politics – Baier to
                                                      Comey
     I2                  C, H, R                      I2 - James Comey - A Higher Loyalty
     I3                  C, H, R                      I3 - James Clapper - Facts and Fears
     I4                  A, C, H, I,                  I4 – Strzok House Interview
                         R                            Transcript



                                           16
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 17 of 21




     Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
     No.    No. Offered
     I5                                               I5 - Brennan Testimony to House
     I6                                               I6 - Clapper Testimony to Senate
     I7                                               I7 - Comey House Intelligence
                                                      Testimony
     I8                                               I8 - Comey Senate Testimony
     I9                  A, H, I, R                   I9 – Transcript of Under Assault at
                                                      Aspen Security Forum
     J40                                              J40 - Jessica.Garrison
                                                      PLAINTIFF.EXHIBIT1
     J41                                              J41 - 2625547 Fusion.GPS,
                                                      30b6.EXHIBIT7
     J42                 H, R, UP                     J42 - 2625547 Fusion.GPS,
                                                      30b6.EXHIBIT15
     J43                 H, R, I                      J43 - Glenn Simpson Testimony to
                                                      House
     M10                                              M10 - Was a server registered to the
                                                      Trump Organization
     M11                                              M11 - New Evidence, and Competing
                                                      Theories, About the Trump Server
                                                      That Appeared to Be Communicating
                                                      With a Russian Bank
     N3                                               N3 – Internal Investigation Report on
                                                      GRIZZLY STEPPE Document- P-
                                                      R000003-P-R000004
     N20                                              N20 - Goederich email to Guy - PT5-
                                                      6 - MARC GOEDERICH, Cyprus,
                                                      May 18, 2018, Exhibit 18A
     N21                                              N21 - Goederich email to Guy
                                                      Translated - PT5-6 - MARC
                                                      GOEDERICH, Cyprus, May 18,
                                                      2018, Exhibit 18B
     N22                                              N22 - Goederich email to Arbogast -
                                                      PT20 - MARC GOEDERICH,
                                                      Cyprus, May 18, 2018, Exhibit 19A




                                           17
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 18 of 21




     Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
     No.    No. Offered
     N23                                              N23 - Goederich email to Arbogast
                                                      Translated - PT20 - MARC
                                                      GOEDERICH, Cyprus, May 18,
                                                      2018, Exhibit 19B
     N24                 H, R                         N24 - Webzilla Statement - P-
                                                      D000008-P-D000008
     N25                 H, R                         N25 - XBT Statement - P-D000009-
                                                      P-D000009
     N26                 H                            N26 – Steman email to de Vries –
                                                      feedback article – P-P562 - JOCHEM
                                                      STEMAN, Cyprus, May 16, 2018,
                                                      Exhibit 21B
     N27                 R, L, C,                     N27 – Composite of communications
                         UP                           with Gubarev - P-H000007-P-
                                                      H000021
     N28                 R, H                         N28 - WSJ email to Gubarev - P-
                                                      H000027-P-H000030
     N29                 R, H                         N29 - Dolan Email to Gubarev -
                                                      Serverscom media scan - P-H000053-
                                                      P-H000055
     N30                 A, R, H                      N30 - Smartwings Booking
                                                      Confirmation - P-I000261-P-I000262
     N31                 A, R, H                      N31 - Priceline Flight Confirmation -
                                                      P-I000263-P-I000267
     N32                 A, R, H                      N32 - Czech Airlines Ticket Receipt -
                                                      P-I000273-P-I000275
     N33                 R                            N33 - Dolan Email - Statement - P-
                                                      P000086-P-P000086
     N34                                              N34 - P-T000004 - Attorneys Eyes
                                                      Only
     N35                                              N35 - Goederich email to Gubarev -
                                                      IP details - P-T000012-P-T000015
     N36                                              N36 - Goederich emails to Gubarev -
                                                      IP details 2 - P-T000016-P-T000019




                                           18
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 19 of 21




     Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
     No.    No. Offered
     N37                                              N37 - Wallarm Security Report - P-
                                                      U000001-P-U000046
     N38                                              N38 - Wallarm Security Report - P-
                                                      U000235-P-U000285
     O1                                               O1 – Dvas Exhibit 69 - KGlobal3443
     O2                                               O2 – Dvas Exhibit 70 – Kglobal824-
                                                      825
     O3                                               O3 – Dvas Email to Dolan –
                                                      Kglobal575-576
     O4                                               O4 – Dolan Email to Dvas –
                                                      Kgloba824-825
     O5                                               O5 - Dolan email to Dvas - Checking
                                                      in - KG819
     O6                                               O6 - Dolan Email to Dvas -
                                                      Serverscom Daily Monitoring (12-23-
                                                      16) and CHD Talking points for
                                                      approval - KG824-825
     O7                                               O7 - Gubarev email to Dolan -
                                                      Reputation Management Services -
                                                      KG580-582
     O8                                               O8 - Dolan email to Dvas -
                                                      Reputation management services -
                                                      KG940-941
     O9                                               O9 - Dvas Email to Dolan -
                                                      Reputation management services - P-
                                                      P1526-1528 - Dvas Exhibit 61
     O10                                              O10 - Gubarev Email - Reputation
                                                      Management services - P-P001521-P-
                                                      P001523
     O11                                              O11 - Dvas Email - Additional
                                                      Question - P-P001532-P-P001533
     O12                                              O12 - Dvas Email - Additional
                                                      Question - P-P001534-P-P001534
     O13                                              O13 - Dvas Email - Servers invoice -
                                                      P-P001543-P-P001543



                                           19
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 20 of 21




     Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
     No.    No. Offered
     O14                                              O14 - Dvas Email - payment advice -
                                                      P-P001544-P-P001544
     O15                                              O15 - P-P001544-P-P001544
                                                      attachment $20k PMT kglobal
     O16                                              O16 - Dvas Email - New Issue - P-
                                                      P001546-P-P001546
     O17                                              O17 - Composite of Abuse Tickets
     O18                                              O18 – Composite of User Information
     S1                  R, UP, A,                    S1 – A Note From Dean: Update on
                         H                            Ali Watkins
     S2                  R, UP, H,                    S2 – BuzzFeed’s censorship problem,
                         I                            Columbia Journalism Review
     S3                  R, UP H, I                   S3 – BuzzFeed’s Ben Smith: ‘We
                                                      didn’t fully think through’ the
                                                      removal of old posts, Poynter
     S4                  R, UP, H,                    S4 – Communicate Magazine,
                         I                            Opinion: Ethics First for PR
     S5                  R, UP, H                     S5 – BuzzFeed, Editor’s Note: An
                                                      Apology To Our Readers
     S6                                               S6 – New York Times, I’m Proud We
                                                      Published the Trump-Russia Dossier
     S7                  R, UP, H                     S7 – Politico, Getting It Wrong
     S8                  R, UP, H,                    S8 – Pam Frampton: Journalism,
                         I                            politics and ‘Idiot Culture’
     S9                  R, UP, H,                    S9 – RTDNA, Journalism requires
                         I                            more than merely reporting claims
     S10                 R, UP                        S10 – Tweet from Ben Smith
     S11                 R, UP, H                     S11 – Washington Post, Senior
                                                      Treasury employee charged with
                                                      leaking documents related to Russia
                                                      probe
     S12                 R, UP, H,                    S12 – National Review, Shame on
                         I                            Buzzfeed




                                           20
Case 0:17-cv-60426-UU Document 379-2 Entered on FLSD Docket 12/10/2018 Page 21 of 21




     Plf.   Def. Date   Objections Marked Admitted Description of Exhibits
     No.    No. Offered
     S13                 R, UP, H,                    S13 – Los Angeles Times, Stop
                         I                            publishing unverified information,
                                                      you numbskulls
     S14                                              S14 – BuzzFeed, Here’s The Short
                                                      Version Of What The 12 Indicted
                                                      Russians Are Accused Of Doing
     S15                                              S15 – BuzzFeed, Russian Intelligence
                                                      Officers Have Been Indicted For
                                                      Hacking Hillary Clinton’s Presidential
                                                      Campaign
     S16                 R, UP, H,                    S16 – Trusting News Project Report
                         I                            2017
     S17                 R, UP, H,                    S17 – Washington Babylon, I’ll sell
                         I                            myself out in a lot of different ways,
                                                      but I will never sell myself out for a
                                                      check from BuzzFeed
     Z1                                               Z1 - Smith Responses to RFAs
     Z2                                               Z2 - Smith interrogatory responses
     Z3                                               Z3 - Buzzfeed Responses to RFAs
     Z4                                               Z4 - Buzzfeed Responses to
                                                      Interrogatories
     Z5                                               Z5 - BuzzFeed Second Supp
                                                      Interrogatory Responses
     Z6                                               Z6 - Ben Smith verified interrogatory
                                                      responses




                                           21
